                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE


  GLOBAL AEROSPACE, INC.,                              )
                                                       )
                  Plaintiff,                           )
                                                       )
  v.                                                   )   No. 3:15-cv-00105
                                                       )       REEVES/SHIRLEY
  PHILLIPS & JORDAN, INC.,                             )
                                                       )
                  Defendant.                           )



                           ADMINISTRATIVE CLOSING ORDER

         On January 30, 2017, attorney Trevor Sharpe’s office notified the court that all

  issues in this case have been resolved, and the case is settled. The court is awaiting a

  stipulation and proposed order of compromise and dismissal. Accordingly, it is hereby

  ORDERED that the clerk administratively terminate this action, without prejudice to the

  rights of the parties to reopen the proceedings, for good cause shown, for the entry of any

  stipulation or order, or for any other purpose required to obtain a final determination of this

  litigation.

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